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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF INDIANA
                                     SOUTH BEND DIVISION

BRANDAN G. MANNS,                                          )
                                                           )
         Plaintiff,                                        )
                                                           )
   v.                                                      )      CASE NO. 3:20-cv-01040-SLC
                                                           )
COMMISSIONER OF SOCIAL                                     )
SECURITY, sued as Kilolo Kijakazi,                         )
Acting Commissioner of Social Security                     )
Administration,1                                           )
                                                           )
        Defendant.                                         )

                                                      ORDER

         On March 30, 2022, this Court entered an Opinion and Order remanding this appeal of

Plaintiff Brandan G. Manns’s denial of disability benefits to the Social Security Administration

for further proceedings. (ECF 25). On June 29, 2022, Manns filed a motion, together with

supporting documents, seeking an award of attorney fees in the amount of $12,674.47 plus $423

in costs, payable by Defendant Commissioner of Social Security to Manns under the Equal

Access to Justice Act (“EAJA”), 28 U.S.C. § 2412. (ECF 27, 28). Subsequently, on July 13,

2022, the Commissioner filed a joint stipulation of the parties to an award of EAJA fees in the

amount of $12,000 plus $423 in costs. (ECF 29).

         The EAJA provides:

                  Except as otherwise specifically provided by statute, a court shall
                  award to a prevailing party other than the United States fees and
                  other expenses . . . incurred by that party in any civil action . . . ,
                  including proceedings for judicial review of agency action,
                  brought by or against the United States in any court having


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           Kilolo Kijakazi is now the Acting Commissioner of Social Security, see, e.g., Butler v. Kijakazi, 4 F.4th
498 (7th Cir. 2021), and thus, she is automatically substituted for Andrew Saul in this case, see Fed. R. Civ. P. 25(d).
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               jurisdiction of that action, unless the court finds that the position of
               the United States was substantially justified or that special
               circumstances make an award unjust.

28 U.S.C. § 2412(d)(1)(A). Here, the Commissioner agrees that an award of $12,000 plus $423

in costs is appropriate for Manns.

       Accordingly, Manns’s motion for attorney fees under the EAJA (ECF 27), as modified by

the joint stipulation for attorney fees by the parties (ECF 29), is GRANTED in the amount of

$12,000 in fees plus $423 in costs. The Commissioner is ORDERED to pay an EAJA fee award

of $12,000 in fees plus $423 in costs to Manns in full satisfaction and settlement of any and all

claims for fees, costs, or expenses under the EAJA that he may have in this matter. Any fees

paid belong to Plaintiff Brandan G. Manns and not his attorney and may be offset to satisfy any

pre-existing debt that Manns owes to the United States. See Astrue v. Ratliff, 560 U.S. 586

(2010). If counsel for the Commissioner can verify that Manns does not owe a pre-existing debt

subject to offset, the Commissioner shall DIRECT that the award be made payable to Manns’s

counsel in accordance with Manns’s declaration dated April 18, 2022, and the fee agreement

executed by the parties on December 14, 2020. (ECF 28-1).

       SO ORDERED.

       Entered this 14th day of July 2022.

                                                       /s/ Susan Collins
                                                       Susan Collins
                                                       United States Magistrate Judge




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